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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 LOUISE MENSCH,

                                  Plaintiff,
                                                          No. 21 Civ. 6176 (CM)
                          -v-

 UNITED STATES OF AMERICA and UNITED
 STATES INTERNAL REVENUE SERIVCE,

                                  Defendants.


                            CIVIL CASE MANAGEMENT PLAN

McMahon, District Judge:

   1. This case is not to be tried to a jury.

   2. Discovery pursuant to Fed. R. Civ. P. 26(a) shall be exchanged by November 12, 2021.

   3. No additional parties may be joined after November 27, 2021.

   4. No pleading may be amended after November 27, 2021.

   5. All discovery, including expert discovery, must be completed on or before April 15,
      2022.

          a. PLEASE NOTE: the phrase “all discovery, including expert discovery” means
             that the parties must select and disclose their experts’ identities and opinions, as
             required by Fed. R. Civ. P. 26(a)(2)(B), well before the expiration of the
             discovery period. Expert disclosures conforming with Rule 26 must be made no
             later than the following dates:

                   i. Plaintiff’s expert report(s) by February 19, 2022;

                  ii. Defendants’ expert report(s) by March 18, 2022.

   6. Judge McMahon’s rules governing electronic discovery are automatically in force in this
      case and can be found at http://nysd.uscourts.gov/judge/Mcmahon. The parties must
      comply with those rules unless they supersede it with a consent order.

   7. Discovery disputes in this case will be resolved by the assigned Magistrate Judge, who
      is Magistrate Judge Ona T. Wang.
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       a. The first time there is a discovery dispute that counsel cannot resolve on their
          own, file a letter to Chambers via ECF and ask for an order of reference to the
          Magistrate Judge for discovery supervision. Thereafter, go directly to the
          Magistrate Judge for resolution of discovery disputes; do not contact Judge
          McMahon.

       b. Discovery disputes do not result in any extension of the discovery deadline or
          trial-ready date, and Judge McMahon must approve any extension of the
          discovery deadline in non-pro se cases.

       c. The Magistrate Judge cannot change discovery deadlines unless you agree to
          transfer the case to the Magistrate Judge for all purposes. Judge McMahon
          does not routinely grant extensions so counsel are warned that it they wait until
          the last minute to bring discovery disputes to the attention of the Magistrate
          Judge, they may find themselves precluded from taking discovery because they
          have run out of time.

8. The parties may at any time consent to have this case tried before the assigned Magistrate
   Judge pursuant to 28 U.S.C. § 636(c).

9. A joint pretrial order in the form prescribed in Judge McMahon’s Individual Rules,
   together with all other pretrial submissions required by those rules (not including in
   limine motions), shall be submitted on or before May 27, 2022.

       a. Following submission of the joint pretrial order, counsel will be notified of the
          date of the final pretrial conference.

       b. In limine motions must be filed within five days of receiving notice of the final
          pretrial conference; responses to in limine motions are due five days after the
          motions are made. Cases may be called for trial at any time following the final
          pretrial conference.

       c.    For bench trials, see Judge McMahon’s special rules for bench trials in the
            Individual Rules.

10. No motion for summary judgment may be served after the date the pretrial order is due.
    The filing of a motion for summary judgment does not relieve the parties of the
    obligation to file the pretrial order and other pretrial submissions on the assigned date.

11. This scheduling order may be altered or amended only on a showing of good cause that is
    not foreseeable at the time this order is entered. Counsel should not assume that
    extensions will be granted as a matter of routine.




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Dated: October 22, 2021
       New York, New York

      Upon consent of the parties:

    SPENCER LEGAL                            DAMIAN WILLIAMS
                                             United States Attorney
                                             Southern District of New York

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                                           SO ORDERED:


                                           __________________________
                                           Hon. Colleen McMahon
                                           U.S. District Judge




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